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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


ABC CAPITAL INVESTMENTS, LLC.
1218 North Marshall Street
Philadelphia, PA 19122
                                                                           17           4980
                  Plaintiff
        v.
                                                        NO.
NATIONWIDE RENTSURE
5445 DTC Parkway
Greenwood Village, CO 80111

        and

NATIONWIDE EVICTION
5445 DTC Parkway
Greenwood Village, CO 80111

                         Defendants                                                NOV -   .1 ?n
                                                                                                   17
                              CIVIL ACTION - COMPLAINT

        Plaintiff, ABC Capital Investments, LLC ("ABC"), by and through their

undersigned counsel, herein files this Complaint against Defendants Nationwide Rentsure

("Rentsure"), and Nationwide Eviction ("NWE"), and in support thereof, avers as follows:

                                          PARTIES

   1.         Plaintiff ABC is a LLC. duly organized in accordance with the laws of the

              Commonwealth of Pennsylvania, with an address located at 1218 North

              Marshall Street, Philadelphia, PA 19122. As part of Plaintiffs regularly

              conducted business, they manage properties, including the renting out of

              properties and the subsequent collection of rent from tenants on behalf of their

              Clients.
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2.      Defendant NWE is a corporation that, upon information and belief, is licensed

        to sell and hold insurance polices with businesses without limitation with an

        address of 5445 DTC Parkway, Greenwood Village, CO 80111 and represents

        that property management companies like ABC can insure 6 months of rental

        ifthere is a problem with a tenant payment.

3.      Defendant Rentsure is a corporation that, upon information and belief, is

        licensed to sell and hold insurance policies with businesses without limitation

        with an address of 5445 DTC Parkway, Greenwood Village, CO 80111. It is

        somehow, as discovery will prove, affiliated with Defendant NWE, and listed

        as such on their public websites which is an Exhibit. Similarly, they insure and

        guaranty payment for 6 months of rent if a tenant defaults.

4.      For the purposes of this matter, both NWE and Rentsure are affiliated and acted

        in concert to provide insurance coverage for Plaintiff ABC, the purpose of this

        coverage was to insure ABC against tenants failing to make rent payments and

        the time required to re-rent properties following evictions. The "About" section

        from the Nationwide Rentsure website, describing the nature of their business

        and affiliation of with Nationwide Eviction, is attached hereto and incorporated

        herein as Exhibit "A."

                                 JURISDICTION

5.      There exists complete diversity jurisdiction pursuant to 28 U.S.C. § 1332 et.

        seq. in that Plaintiff and Defendants are all citizens and residents of different

        States.
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6.      This Court has subject matter jurisdiction over Plaintiffs federal claims

        pursuant to 28 U.S.C. § 1332(a)(l) because (1) there is complete diversity of

        citizenship between Plaintiff ABC, who is a citizen and resident of

        Pennsylvania for the purposes of diversity jurisdiction 28 U.S.C. § 1332,

        Defendants NWE and Rentsure who are citizens and residents of the State of

        Colorado and (2) the matter in controversy exceeds $125,000, exclusive of

        interest and costs.

7.      This Court has supplemental jurisdiction over Plaintiffs state law claim

        pursuant to 28 U.S.C. § 1367.

8.      Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §

        1391(b) because a substantial portion of the events giving rise to this litigation

        occurred in Pennsylvania. Defendants reached out to Plaintiff and solicited

        them in Pennsylvania to enter into an insurance policy agreement that is the key

        issue herein.

                                       FACTS

9.      This matter involves a series insurance policies entered into between Plaintiff

        and Defendants in or around January 1, 2017. These policies were issued out to

        a series of properties managed by Plaintiff as rental income protection. The

        purpose of this policy was to insure and protect Plaintiff against tenants failing

        to pay rent or failing to vacate properties after defaulting on rent or the

        expiration of their lease. Despite continued premium payments and requests

        for these policies in hard copy, ABC has still not received the same, and

        demands the same in discovery.
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10.      The initiation of these policy agreements began in fall 2016, when Defendants

         began marketing to Plaintiff in Pennsylvania and proposing and formulating the

         insurance policies at issue herein.

11.      The insurance provided by Defendants covered three months of rent prior to

         eviction and three months after eviction to cover the period that tenants failed

         to pay rent and the time it takes to find new renters.

12.      Following the initiation of the agreement between Plaintiff and Defendants,

         Plaintiff began entering properties into insurance agreements with Defendants

         through a web-based portal controlled by Defendants with the Assistance of

         Defendants Liaison and Representive Sky Mikesell, referred to by Defendants

         as Certificates of Benefit. Attached hereto and incorporated herein as Exhibit

         "B," is an email from Defendants' representative, salesman and primary liaison

         with Plaintiff, Sky Mikesell. Exhibit A shows Mikesell, on behalf of

         Defendants, referring to the insurance policies as Certificates of Benefit and

         establishing that a large number of properties were already insured and that

         Plaintiff had made payments towards those policies. The web portal and excel

         spreadsheet showing a large number of the properties Plaintiff had policies for

         with Defendants, that were entered into Defendants records and paid for by

         Plaintiff, is attached hereto and incorporated herein as Exhibit "C."

13.      Shortly after entering into these policies, Plaintiff began have trouble contacting

         Defendants, specifically through their employee and liaison, Sky Mikesell.

         Defendants failed to provide hardcopies of the insurance policies to Plaintiff,

         they failed to properly provide receipts and confirmations of payments, despite
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      multiple attempts to ensure the contrary by Plaintiff, and Defendants began to

      mention claim requirements and restrictions that had previously not been

      discussed nor been made known to Plaintiff. See, Exhibit "D."

14.   Defendants began to deny a numb r of claims put forth by Plaintiff for

      properties that were insured under po icies that had been properly paid for, at

      first citing requirements and restri tions that had never previously been

      mentioned or brought to Plaintiffs kn wledge. Defendant then started ignoring

      other claims made through their web ortal by Plaintiff. They have left ABC

      with no other means of communicatio other than this lawsuit and discovery.

15.   Defendants continually failed to          onor their policies, oral and written

      representations, made by Sky Likesell, on their websites, and have received tens

      and tens of thousands of dollars o premium from Plaintiff and became

      increasingly difficult to contact to the oint of not answering repeated calls and

      emails.

16.   Finally, on August 16, 2017, Defend nts sent a termination notice to Plaintiff

      in bad faith, wrongfully contending t at Plaintiff had failed to make payments

      on their insurance policies. See Exhibit "E," Defendants' Notice of

      Termination, which is attached hereto and incorporated herein is fully disputed

      by Plaintiff, as discovery will reveal.

17.   Plaintiff has initiated this matter as Defendants failed to honor their orgal

      contracts, written contracts to be pro uced in discovery, their written and oral

      representations, and to pay as represe ted all of Plaintiffs claims under their

      policy, or otherwise despite their assurances, agreements and repeated
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         misrepresentations to the contrary. Defendants wrongfully and vexatiously

         terminated these policies under bad faith and made up pretexts and have

         defrauded Plaintiff in a significant amount in excess of $125,000. In essence,

         Defendants' have engaged in a conversion of ostensible premium dollars paid

         by Plaintiff as will be proven in discovery.

                                 COUNT I
                            BREACH OF CONTRACT

18.      Plaintiff incorporates by reference the allegations contained in the paragraphs

         above as if a more fully set forth herein.

19.      Defendants represented to Plaintiffs, that they had, and consistently had,

         insurance policies for a series of properties managed by Plaintiff. See Exhibit

         B. Said policies clearly covered any failure of tenants to pay rent and the three-

         month period following eviction during which Plaintiff would be seeking new

         tenants.    Despite countless pre-litigation requests, Defendants refused,

         intentionally, to send any policy documents other than the representations on

         their public website, and made in reliance of taking tens of thousands of

         premium dollars from Plaintiff. Plaintiff specifically will serve this Complaint

         with Rule 26 Disclosures and a Document Demand, and reserves the right to

         add these policy documents as an Exhibit before Defendant can file a Rule 12

         Motion pertaining to the lack of attachment of these documents.

20.      Despite said representations by Defendants, when Plaintiff tendered their

         claims to Defendants, they failed and refused to remunerate Plaintiff, provide

         any adequate explanation, ignored Plaintiffs inquires, and left Plaintiffs to bear
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                                                                                                /


         the cost of both the damages that should have been covered under their policies

         and the cost of counsel to enter their appearance and pursue this litigation.

21.      As a result, Plaintiff has been damaged and continue to be damaged and accrue

         costs that would have otherwise been covered as promised, assured and agreed

         upon by Defendants.

22.      Plaintiffs have been damaged in an amount in excess of $125,000.

                                        COUNT II
                               UNJUST ENRICHMENT
23.      The foregoing allegations in the above paragraphs are incorporated herein by

         reference as if set forth in full.

24.      Defendants have, and continue to be, unjustly enriched as a result of the conduct

         described above in this Complaint.

25.      Defendants received benefits in the form payments made in relation to the

         insurance policies for which they have failed to adhere to and for which they

         have refused to provide coverage under, contrary to the language of the policy.

26.      Retention of these benefits by Defendants' would be unjust and inequitable.

         Defendants abused their discretion by disregarding numerous attempts made by

         Plaintiff to ensure that the insurance policy be adhered to and they have engaged

         in protracted delays that have led the inability of Plaintiff to recoup any loses

         and mitigate the damages that the insurances policies were specifically tailored

         to prevent.

27.      It would be unjust and inequitable for Defendants to retain such benefits, and

         Plaintiff is entitled to restitution of all damages incurred and all other premiums,

         monies and fees and charges owed, unjustly and inequitably retained, and
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         damages for the improperly alleged lack of coverage regarding the properties

         and related insurance policies.

                                      COUNT III
                                     BAD FAITH
28.      Plaintiff incorporates the above paragraphs as though fully set forth at length

         herein.

29.      42 Pa. C.S.A. 8371 entitled "Actions on Insurance Policies" provides a private

         cause of action for bad faith against insurance companies if the Court finds that

         the insurer has acted in bad faith towards the insured and permits the following

         damages to be awarded:

             (1)    Interest on the amount of the claim from the date a
             claim was made by the insured in an amount equal to the
             prime rate of interest plus three (3%) percent.
             (2)    Punitive damages against the insurer.
             (3)    Court costs and attorney's fees against the insurer.

30.      Plaintiff made all payments for insurance policies to Defendants in full and in

         a timely fashion.

31.      Despite the above, Defendants acted in bad faith towards its insured, as set forth

         above and by falsely claiming that the claims made by Plaintiff were not

         covered by their policy and that as a result, the claims for lost rental income

         were not covered under the policy.

32.      These denials, illogical and incorrect interpretation of the policy, and the refusal

         to pay the claims, and continuing inability of Plaintiff to contact Defendants

         throughout their dispute and currently constituted a violation of 42 Pa.C.S.A.

         8371, and constitutes Bad Faith on the part of Defendants.
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33.      Pursuant to Rancosky v. Wash. Nat'! Ins. Co., badfaith claims in Pennsylvania

         no longer require a showing of ill-will or self-interest but rather a showing of

         recklessness is sufficient. J - 27 -2017,.No. 28 WAP (2016). As such, the

         conduct of Defendants was extensively reckless as they failed to provide

         sufficient reasoning or support for their refusal to refund the premiums, tum

         over the policy documents, and unwarranted and unexplained denial of

         Plaintiff's claims, their inability to be contacted by Plaintiff regarding these

         claims, their inexplicable termination of Plaintiff's policies and their

         manipulation of the terms of these policies in an attempt to defraud Plaintiff.

34.      As a direct and proximate result, Plaintiff, has incurred damages far in excess

         of $125,000, plus attorney's fees, costs of suit, punitive damages and otherwise

         has been left in a damaged condition for which they continue to accrue losses,

         and punitive damages are warranted for Defendants wanton, reckless and

         outragrous conduct, retention of Plaintiff's money, failure to communicate,

         reckless denials and ignoring of communications, and gross, misleading and

         false representations to Plaintiff at the inception of this litigation.

                                        COUNT IV
                                 CIVIL CONVERSION
35.      The foregoing allegations in the above paragraphs are incorporated herein by

         reference as if set forth in full.

36.      Defendants have, and continue to illegally retain hundreds and hundreds of

         thousands of dollars of Plaintiff's payments without any legal or factual

         justification therefore, converting the same for their own use.
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37.   Retention of these benefits by Defendants' would be unjust and inequitable.

      Defendants abused their discretion by disregarding numerous attempts made by

      Plaintiff to ensure that the insurance policy be adhered to and they have engaged

      in protracted delays that have led the inability of Plaintiff to recoup any loses

      and mitigate the damages that the insurances policies were specifically tailored

      to prevent.

38.   It would be unjust and inequitable for Defendants to retain such benefits, and

      Plaintiff is entitled to restitution of all damages incurred and all other premiums,

      monies and fees and charges owed, unjustly and inequitably retained, and

      damages for the improperly alleged lack of coverage regarding the properties

      and related insurance policies.

                                    COUNT I
                                     FRAUD

39.   Plaintiff incorporates by reference the allegations contained in the paragraphs

      above as if a more fully set forth herein.

40.   Defendants INTENTIONALLY represented to Plaintiffs, that they had, and

      consistently had, AFTER PAYING HUNDREDS OF THOUSANDS OF

      DOLLARS, based on intentional false representations.

41.   Defendants made knowing false statements, claims and representations to

      Plaintiff to induce the payment of substantial dollars to Defendant, knowing

      those representations to be false, upon which Plaintiff relied, as laid out in detail

      in the fact section herein.
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   42.      As a result, Plaintiff has been damaged and continue to be damaged and accrue

            costs that would have otherwise been covered as promised, assured and agreed

            upon by Defendants.

   43.      Plaintiffs have been damaged in an amount in excess of $125,000.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter

judgment in their favor and against the Defendants, jointly and severally, for all available

damages under the law, including attorneys fees, punitive damages, actual damages, and

such other relief that this Court deems just and equitable.



                                                      Respectfully Submitt   ·

                                                       s David T. Shulick
                                                      DAVID T. SHULICK,
                                                      Shulick Law
                                                      1500 J.F.K Boulevard, Suite 1110
                                                      Philadelphia, PA 19102
                                                      (215) 988-5488
                                                      david@shulicklaw.kgm
                                                      Attorney For The Plaintiff

Dated: 10.30.17
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                                        VERIFICATION

       We, the undersigned Defendants, state that the statements made in the foregoing

pleadings are true and correct to the best of our knowledge, information and belief; and that the

foregoing statements are made subject to the penalties of 18 Pa. C.S.A. § 4909, relating to

unsworn falsification to authorities. A copy of our signature shall be legally binding.
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               EXHIBIT ''A''
10/31/2017                                                 Nationwide RentSure Canada I Rental Guarantees I About Us
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             ~ATIONWIDE\YJ                                             Landlord Membership     Freedom Program      Developers Program      AboutUs   Get Started
             RENTSURE V




                          RENTAL INCOME GUARANTEES ARE A
                          GLOBAL SUCCESS!
                          At Nationwide RentSure, we guarantee unpaid rent, tenant damages and legal support to evict delinquent tenants.

                          Rental Income Guarantees are not a new concept globally:

                           • In Australia, 83% of landlords have rental income protection on their property.
                           • In European countries, a large percentage of landlords have rental income guarantees protecting their rental
                             income property.

                          Real Estate Investors in North America, from single family homeowners to multi-billion dollar REITs have been losing
                          billions of dollars a year.

                          We are working to change the way property managers, landlords and owners do business, approve tenants, manage
                          cash flow, and process evictions for 52 million rental units in 2,200+ court jurisdictions in North America.




                                   R



https://www.nationwiderentsurecanada.com/about-us                                                                                                                   1/3
10/31/2017                                                 Nationwide RentSure Canada I Rental Guarantees I About Us
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             ~ATIONWIDE\f                                              Landlord Membership      Freedom Program      Developers Program       AboutUs    Get Started
             RENTSURE               v
                          NATIONWIDE RENTSURE CANADA

                          Nationwide RentSure Canada Corporation is led by a diverse group of real estate, insurance, and technology
                          professionals. h a team, we have over 30 years of risk-based insurance experience, 25 years in real estate and over a
                          decade in technology platform development. With this experience, we have developed a truly unique risk mitigation
                          solution and assembled a group of best in class providers to execute on this vision.




                                                                                                                           NATIONWIDE         ~
                          NATIONWIDE EVICTION                                                                              EVICTION           m
                          The leading online eviction provider in the USA. The Nationwide RentSure Eviction platform allows clients to file
                          evictions online and have those evictions handled by one of over 100 law firms and service providers on its
                          network. Over 150,000 evictions are processed on the Nationwide Eviction platform each year.




                          Al GUARANTEE

                          Ai Guarantee Inc. is a member of the Nationwide RentSure association providing pre-construction and new build
                          developers with rental income guarantees. Ai Guarantee Inc. has provided over $600 Million in rental guarantees in
                          Canada.




                                                                          Nationwide RentSure   X




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                          GET IN TOUCH

                            Name


                            Email




https://www.nationwiderentsurecanada.com/about-us                                                                                                                           2/3
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             NATIONWIDE\f                                                                           Landlord Membership                     Freedom Program                    Developers Program                   AboutUs       Get Started
             RENTSURE v


                                                                                                                        Send




                          OUR SITE                                                             SUPPORT                                                              ADDITIONAL RESOURCES


                          Home                                                                 Mailing List                                                          Landlord Membership Fees
                          Landlord Membership                                                  Privacy Policy                                                       Tenant Qualification
                          Freedom Program                                                      Download Brochures                                                   Market Analysis
                          Developers Program                                                   Log In                                                               Online Payments
                          About Us                                                             FAQ

                          AFFILIATES                                                           LOCATION                                                             CONTACT


                          REIN Members                                                         29 Booth Ave, Suite 201                                              support@nationwiderentsurecanada.com

                                                                                               Toronto, ON M4M 2M3




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                          LEGAL NOTICE: Ai Gu<Jrantee !pc., RentSure lv1.;-rnbership (Canada} Corpowticln Mid N<1tionw1de RentS~;r'} Canada Co1poc<1tion landbd assoc:;dl1ons, d1rect-."'l'S.
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https://www.nationwiderentsurecanada.com/about-us                                                                                                                                                                                               3/3
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                EXHIBIT ''B''
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DSparalegal

From:                           Jay Walsh <jay@abccapitalinvestments.com>
Sent:                           Friday, October 13, 2017 12:21 PM
To:                             Lawclerk
Subject:                        Fwd: Rentsure Update




Jay Walsh
Chief Business Officer
ABC Capital Investments, LLC
Office: 267-324-3926 ext. 111
jay@abccapitalinvestments.com

Fax:267-670-8213
Investors: 215-253-8207

Philadelphia Office
www.abccapitalinvestments.com
1218 N. Marshall Street
Philadelphia, PA 19122

Baltimore Office
www.abccapitalbaltimore.com
First Floor
3604 Eastern Avenue
Baltimore, MD 21224




----------Forwarded message----------
From: Sky Mikesell <sky@nationwiderentsure.com>
Date: Wed, Feb 1, 2017 at 6:34 PM
Subject: Re: Rentsure Update
To: Jay Walsh <jay@abccapitalinvestments.com>
Cc: Taheira Williams <twilliams@abccapitalinvestments.com>, Peter Brooks
<Peter@abccapitalinvestments.com>, Antonio Cerqueira <acerqueirae@gmail.com>


Yes.

I am travelling back from Toronto right now but will pull it together and send to you for your records.

Each Certificate of Benefit (formal policy in your words) goes out once the initial invoice is paid for each batch
of properties put in.


                                                        1
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          So currently you should have a certificate of benefit for your initial batch.



          Let me know if you have any other questions.


          On Wed, Feb 1, 2017 at 6:29 PM, Jay Walsh <jay@abccapitalinvestments.com> wrote:
           Sky do we have a formal policy or master policy for these? Do you have a list of what we have insured and
           until when? I want to input into our software for tracking.


          Jay Walsh
          Chief Operating Officer
          ABC Capital Investments, LLC
          1218 N. Marshall Street
          Philadelphia, PA 19122
          www.abccapitalinvestments.com
          Office: 267-324-3926 ext. 111
          Fax: 267-670-8213
          Investors: 215-253-8207
          Israel Tel: 03-686-2595
          jay@abccapitalinvestments.com
          Nomination For Best Developer




II        On Wed, Feb 1, 2017 at 10:52 AM, Sky Mikesell <sky@nationwiderentsure.com> wrote:

i    I!    good morning Taheira-
I.         We have received.
11



11         All were entered in and invoiced.


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!
1 · i
    I
             Let me know when you have completed sending the ones you have for this batch and I will confirm receipt of
1 1
l i
             address' received.
11
11
1   I        On Wed, Feb 1, 2017 at 10:01 AM, Taheira Williams <twilliams@abccapitalinvestments.com> wrote:
I   1


111           Good morning Sky,
'II

I 11
1
    ,.   i I will be sending you more leases today. Please confirm that you have received the ones I sent you prior on
           01/20/2017. Thank you.

'I
11 i
         1


' 11          Taheira Williams

         I Assistant to Peter Brooks
,I
              ABC Capital Investments, LLC

              1218 N. Marshall Street
         1

I Philadelphia, PA 19122
    1

I' I
I, II www.abccapitalinvestments.com
              Office: 267-324-3926 ext. 106
111
              Fax: 267-670-8213

11

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III
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11
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11
1   I
11
             Sky Mikesell - CEO

, , RentSure Membership Association Inc.

                                                                3
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  12835 E Arapahoe Rd, Tower II, Suite 800

 Centennial, CO 80112

 Office: 1-866-646-0200

 Sky.mikesell@rentsuremembership.com

 www.Nationwiderentsure.com




Sky Mikesell - CEO

RentSure Membership Association Inc.

12835 E Arapahoe Rd, Tower II, Suite 800

Centennial, CO 80112

Office: 1-866-646-0200

Sky.mikesell@rentsuremembership.com

www.Nationwiderentsure.com




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                EXHIBIT ''C''
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Demand Filed                Owner                           Amount (6x Rent)   File Date
1741 N Stillman             KMA Holdings LLC                   $4,800.00         5/24
264 S. Frazier              Guy Sela Investments LLC           $7,200.00         5/24
6239 N. 21st                AGL Capital Investments, LLC       $6,300.00         8/22
219 E. Ontario St.          A&K Capital Investments LLC        $3,600.00         8/3
1623 S. 56th St.            Odel Capital Investments, LLC      $5,400.00         8/2
5816 Norfolk                Amicelli Investments               $5,700.00         8/22
1707 N. Peach St.           Brad Weed                          $6,150.00         7/24
2070 Kingston St.           Sura 4, LLC                        $3,900.00         7/24
424 N. Salford              MPS Capital Investments            $5,100.00         7/24
5523 Kingsessing Ave        Eshdat Investments, LLC            $5,700.00         7124
830 S. Cecil St.            YL Nathan Properties,LLC           $5,400.00         7/24
2050 Aikens                 Jingfei Zhang                      $5,100.00         5/24
527 N. 63rd U2              Brye Steeves                       $4,800.00         7124
5425 Sansom U 1             NOFBAR NH Capital lnvestmen1       $4,500.00         4/19
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               Full Policy and Contact Info
Claim#          Carrier              Broker
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
         Nationwide Rentsure   Sky Mikesell   (704) 622-3326   sky@nationwiderentsure.com
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               EXHIBIT ''D''
                      Case 2:17-cv-04980-JP Document 1 Filed 11/03/17 Page 27 of 42

DSparalegal

From:                               Jay Walsh <jay@abccapitalinvestments.com>
Sent:                               Friday, October 13, 2017 12:19 PM
To:                                 Lawclerk
Cc:                                 Jimi Hendricks
Subject:                            Fwd: Response to your text




Jay Walsh
Chief Business Officer
ABC Capital Investments, LLC
Office: 267-324-3926 ext. 111
jay@a bcca pita Ii nvestments.com

Fax: 267-670-8213
Investors: 215-253-8207

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www.abccapitalinvestments.com
1218 N. Marshall Street
Philadelphia, PA 19122

Baltimore Office
www.abccapitalbaltimore.com
First Floor
3604 Eastern Avenue
Baltimore, MD 21224




---------- Forwarded message ----------
From: Sky Mikesell <sky@nationwiderentsure.com>
Date: Thu, Sep 7, 2017 at 12:27 PM
Subject: Response to your text
To: jay@abccapitalinvestments.com
Cc: Gordon Dunn <gordon.d@nationwiderentsure.com>, chris@nationwiderentsure.com, David Merrill
<david@nationwiderentsure.com>


Jay
I wanted to get back to you .... received your below text

"Hey can we talk? Why do you need a walk through for a rent payment? Sounds like your jut trying to find
reasons not to pay?? "


                                                            1
                   Case 2:17-cv-04980-JP Document 1 Filed 11/03/17 Page 28 of 42
Jay
As you have experienced in working with me I try to
Work thru everything with you and for you and this would normally be no different.
however this current issue is not someone looking for a reason to not pay.
The move-in inspection requirement has been part of the certificate of benefit since the very beginning.
All requirements of the program are in the certificate of benefit.
I have been in discussions with the insurer for a few months with suggested adjustments to the certificate of
benefit but as of now it remains the same.

If you would like to set up a time to review the cerificate of benefit again by phone I would do that with you tk
make sure this is still a fit for you and your company. The last thing I want is for you to be investing your hard
earned money into a product that doesn't fit your business' modus operandi.

Let me know how you would like to proceed.

Sky Mikesell
Natiomvide Rentsure membership.




                                                         2
                      Case 2:17-cv-04980-JP Document 1 Filed 11/03/17 Page 29 of 42

DSparalegal

From:                           Jay Walsh <jay@abccapitalinvestments.com>
Sent:                           Friday, October 13, 2017 12:19 PM
To:                             Lawclerk
Subject:                        Fwd: Payment details




Jay Walsh
Chief Business Officer
ABC Capital Investments, LLC
Office: 267-324-3926 ext. 111
jay@abccapitalinvestments.com

Fax: 267-670-8213
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3604 Eastern Avenue
Baltimore, MD 21224




---------- Forwarded message ----------
From: Chris Crawford <chris@nationwiderentsure.com>
Date: Tue, Aug 15, 2017 at 12:53 PM
Subject: Re: Payment details
To: Jimi Hendricks <jhendricks@abccapitalinvestments.com>
Cc: Sky Mikesell <sky@nationwiderentsure.com>, Jason Walsh <jay@abccapitalinvestments.com>, Jim Swain
<jim@nationwidecourtsystems.com>


Yes, once AMEX is activated, then we will activate the reoccurring feature.

cc
On Tue, Aug 15, 2017 at 12:52 PM, Jimi Hendricks <jhendricks@abccapitalinvestments.com> wrote:

 Ok what about the recurring payments? Is that still in the works also?

                                                        1
                            Case 2:17-cv-04980-JP Document 1 Filed 11/03/17 Page 30 of 42


     From: Chris Crawford [mailto:chris@nationwiderentsure.com]
     Sent: Tuesday, August 15, 2017 12:50 PM
     To: Jimi Hendricks <jhendricks@abccapitalinvestments.com>
     Cc: Sky Mikesell <sky@nationwiderentsure.com>; Jason Walsh <jay@abccapitalinvestments.com>; Jim
     Swain <jim@nationwidecourtsystems.com>
     Subject: Re: Payment details



     I think we'll have AMEX on soon it's just a longer approval process.



     On Tue, Aug 15, 2017 at 12:26 PM, Jimi Hendricks <jhendricks@abccapitalinvestments.com> wrote:

         Ok, I only tried American Express cards, it gives the option so I figured that they would work. I will have to
         get a Visa and use that.

1        Also, how can we set it up for automatic draws? I didn't see any options for this.
1

1!   -----Original Message-----
     From: Sky Mikesell [mailto:sky@nationwiderentsure.com]

     I
     Sent: Tuesday, August 15, 201711:41 AM
1

1
I ,~ To: Jason Walsh <jay@abccapitalinvestments.com>; Jimi Hendricks
I i <jhendricks@abccapitalinvestments.com>
I




     Cc: Chris Crawford <chris@nationwiderentsure.com>
     Subject: Payment details
II

11       Jay or Jimi
, I Can we get your payment details so we can try?
I All show up as American Express cards on the gateway side but amx is not setup.             But you indicated he tried
I other cards which We don't see.
         Can you provide a card or cards you want to use and let us try it for you?
11




         NATIONWIDE r:.t"J
     RENTSURE~
     www.nationwiderentsure.com
1    Christopher Crawford

                                                               2
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 800-370-5490




NATIONWIDE~
RENTSURE~
www.nationwiderentsure.com
Christopher Crawford
800-370-5490




                                                    3
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                EXHIBIT ''E''
                      Case 2:17-cv-04980-JP Document 1 Filed 11/03/17 Page 33 of 42

DSparalegal

From:                           Jay Walsh <jay@abccapitalinvestments.com>
Sent:                           Tuesday, September 12, 2017 8:26 AM
To:                             David Shulick
Subject:                        Re: Notice of Pending Membership Termination



I may need to move forward i will let you know


Jay Walsh
Chief Business Officer
ABC Capital Investments, LLC
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jay@abccapitalinvestments.com

Fax: 267-670-8213
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3604 Eastern Avenue
Baltimore, MD 21224




On Mon, Sep 11, 2017 at 2:45 PM, David Shulick <dshulick@shulicklaw.com> wrote:

X2




From: David Shulick
Sent: Tuesday, September 05, 2017 2:41 PM



To: 'Jay Walsh' <jay@abccapitalinvestments.com>; 'Sky Mikesell' <sky@nationwiderentsure.com>; 'Chris
Crawford' <chris@nationwiderentsure.com>
Subject: RE: Notice of Pending Membership Termination



                                                        1
                      Case 2:17-cv-04980-JP Document 1 Filed 11/03/17 Page 34 of 42
J - status?




David T. Shulick, Esquire

SHULICK LAW

Two Penn Center,Suite 1110

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T - 215.988.5488

F-215.701.0811

E - david@shulicklaw.com




Additional Offices:

Montgomery County, Pennsylvania

Camden County, New Jersey




www.shulicklaw.com




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email shall be illegal and subject you to all available civil and criminal remedies.




                                                       2
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From: David Shulick
Sent: Thursday, August 10, 2017 10:47 AM
To: 'Jay Walsh' <jay@abccapitalinvestments.com>; Sky Mikesell <sky@nationwiderentsure.com>; Chris Crawford
<chris@nationwiderentsure.com>
Subject: RE: Notice of Pending Membership Termination




Reply with the contract, full addresses, amount owed - we will sue next week if not resolved. Keep me posted.




David T. Shulick, Esquire

SHULICK LAW

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                                                         3
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directed, you are to destroy its contents immediately. Unauthorized use of any information contained in this
email shall be illegal and subject you to all available civil and criminal remedies.




From: Jay Walsh [mailto:jay@abccapitalinvestments.com]
Sent: Wednesday, August 09, 2017 5:03 PM
To: Sky Mikesell <sky@nationwiderentsure.com>; Chris Crawford <chris@nationwiderentsure.com>
Cc: David Shulick <dshulick@shulicklaw.com>
Subject: Fwd: Notice of Pending Membership Termination




Sky,



I have tried to reach several times this week. Jimi has tried to reach you several times this week.



1. We did not receive any checks

2. This cancelation notice is NOT correct and someone has to call us to straighten this out. ASAP



At this point, i feel there is something really fishy going on and maybe even some type of fraud. If you do not
text me to set up a call by noon tomorrow. I will get my attorney involved which i have cc'd here and make
sure all my clients and your potential clients you have marketed to know about your inactions.




Jay Walsh
Chief Business Officer
ABC Capital Investments, LLC
Office: 267-324-3926 ext. 111
jay@abccapitalinvestments.com

                                                        4
                   Case 2:17-cv-04980-JP Document 1 Filed 11/03/17 Page 37 of 42
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Baltimore, MD 21224




---------- Forwarded message ----------
From: Jimi Hendricks <jhendricksabc@gmail.com>
Date: Wed, Aug 9, 2017 at 4:58 PM
Subject: Fwd: Notice of Pending Membership Termination
To: Jay Walsh <jay@abccapitalinvestments.com>



----------Forwarded message----------
From: <info@nationwideeviction.com>
Date: Mon, Jul 31, 2017 at 3:16 AM
Subject: Notice of Pending Membership Termination
To: jhendricksabc@gmail.com
Cc: support@nationwiderentsure.com


                                                NATIONWlDEEIJ
                                                RENTS URE&
                          Notice of Pending Membership Termination

       IMPORTANT NOTICE THAT AFFECTS YOUR NATIONWIDE RENTSURE
                             MEMBERSHIP

You are hereby notified that the Membership protecting the properties below will be terminated effective 8/15/2017.


Reason for Termination: Failure to Pay Membership Dues.
                                                        5
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    Please email us at support@nationwiderentsure.com or call us at 800-370-5490 as soon as possible.



    Properties Affected:
    245 W. 58th Street


    2331 W. Firth Street


    1728 N. Peach Street


    2217 W. Firth St.


    1941 S. Alden St


    6071 Regent St


    219 E. Ontario St.


    720 Dekalb St.


    2522 N. 33rd St


    2025 W. Venango St.


    830 S. Cecil St.


    6133 Delancy St


    5832 Arch St.


    2431 Seybert St.


    343 N. Wilton St


    6211 Race St


    5616 Litchfield ST


    4654 Penn St.


    1617 Rowan


    2070 Kingston St


I   2636 Bonaffon Street
                                                           6
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5515 Beaumont St.


6339 Dicks Ave


138 Hansberry St


5718 Sansom St


1630 Unity St.


6234 Ogontsz Ave


1222 N. 56 St.


1741 N Stillman St.


6069 Regent St.


2814 W. Oxford St.


439 Blavis St.


5526 Blakemore St


6235 Delancey St.


6239 N 21st


5321 Lena St


6470 Lensen St


3340 Emerald St


6239 N. 21st


5450 Media St.


1026 N. 46th


2505 Ingersoll St


6615 Gerry Street


1344 Kerbauqh St.
                                                 7
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607 Cobbs Creek Pkwy


5402 Walnut St.


5865 Walton Ave.


6418 Trinity St


2955 Bambray St.


436 N. Wilton


1324 N. Frazier St


5644 Pentridqe St.


6906 1/2 Woodland Ave


700 W Champlost Ave


1617 Wakeling St


2527 S. Bonnaffon St.


6114 Sansom St.


2654 S. Carroll


105 N Felton St.


1212 Harrison Unit 2


921 S. 58th St.


1138 S. Ruby Street


3949 N. Franklin St


4048 N 8th st


5802 Vine St


1212 Harrison Unit 3


5631 Broomall St.
                                                8
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742 Frazier Street


848 E. Chelten Ave


5054 Tacoma St


4841 N. 18th St.


2947 N. Stillman St


5537 Boyer St.


522 S. Yewdall St.


527 N. 63rd


5133 N. Sydenham Street


3424 Sydenham St


1248 S. Ruby st


1707 Peach Street


5523 Kingsessing Ave


6746 Linmore Ave.


5563 Blakemore St.


5849 Warrington Ave


5502 Willows Ave


1312 N Alden St.


5859 Walton Ave


3651 N. 21st Street


5782 Stewart St.


2906 S. Dewey St.


5549 Larchwood Ave
                                                9
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5844 Addison St


2618 Sylmar Street


952 Belmont Ave


1917 S. Cecil St.


1923 S !than St


3608 N 19th St


7115 Theodore St.


338 N. Redfield


4850 Brown St.


264 S. Frazier St.


817   s.   60th


811 W. Erie 1st FL


5715 Hazel St


2226 w Oakdale


4686 Hawthorne St


6553 Allman St.


615 N. 66th St.


7363 Garman St


1740 S. 60th St.


1607 Harrison Unit 2R


5344 Upland St.


6038 Angora Ter.



                                                 10
